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CONFERENCE ATTENDANCE RECORD
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CASE NAME: IN RE: DEEPWATER HORIZON, ET AL.

DOCKET NUMBER & SECTION: MDL 2179

DISCOVERY STATUS CONFERENCE

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NAME OF ATTORNEY PARTY(S) REPRESENTED

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Case 2:10-md-02179-CJB-DPC Document 4222-1 Filed 09/30/11 Page 2 of 4

NAME OF ATTORNEY

PARTY(S) REPRESENTED

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NAME OF ATTORNEY PARTY(S) REPRESENTED

Aninony Pp iv PSC

Case 2:10-md-02179-CJB-DPC

Sarah Himmelhoch
Joe Eisert

Mike Lyle

Skip McAloon
Tom Hieden

Jed Mestayer
Patrick O’Keefe
Sean Brady

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